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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 EASTERN DIVISION

JIMMY LEE                                                                            PLAINTIFF

VERSUS                                                                      2:20-cv-30-KS-MTP
                                                          CIVIL ACTION NO. _____________

RUDOLPH FOODS COMPANY, INC.;
DOUG McATEE, Individually, and
MICHELLE GARDNER, Individually                                                   DEFENDANTS

                                   NOTICE OF REMOVAL

TO:    James Brister
       Circuit Court, Lawrence County
       P.O. Box 1249
       Monticello, MS 39654

       Louis Watson
       Nick Norris
       Watson & Norris, PLLC
       1880 Lakeland Drive, Suite G
       Jackson, MS 39216

       In accordance with 28 U.S.C. § 1332, 1441, and 1446, you are hereby notified that the

named Defendants, Rudolph Foods Company, Inc., Doug McAtee and Michelle Gardner, has

removed this civil action from the Circuit Court of Lawrence County, Mississippi, to the United

States District Court for the Southern District of Mississippi, Eastern Division, and in support

hereof would show unto the Court the following:

       1.      This action was filed in the Circuit Court of Lawrence County, Mississippi, Second

Judicial District, as Cause No. 19-227-CM.        Plaintiff’s Complaint names Rudolph Foods

Company, Inc., Doug McAtee, and Michelle Gardner, as the Defendants. (See Exh. A, Complaint).

       2.      There is complete diversity of citizenship between the Plaintiff and named

Defendants, Rudolph Foods Company, Inc., Doug McAtee, and Michelle Gardner. Plaintiff is

domiciled in Mississippi at his residence in Jefferson Davis County, Mississippi, according to his
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Complaint. (Complaint, para. 1). Rudolph Foods, Inc. is an Ohio domiciliary corporation with its

principal place of business and registration in Ohio. (Exh. B, Affidavit of Rudolph Food Company,

Inc.).1 Doug McAtee is an Ohio domiciliary whose permanent residence is in Ohio. (Exh. C,

Affidavit of Doug McAtee). Michelle Gardner is an Ohio domiciliary whose permanent residence

is in Ohio. (Exh. D, Affidavit of Michelle Gardner).

           Accordingly, this Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332.

Further, Plaintiff’s Americans with Disabilities Act, Family Medical Leave Act, and Age

Discrimination in Employment Act invokes federal question jurisdiction under 28 U.S.C. § 1331.

Supplemental jurisdiction is further present over the state law tortious interference claims under

28 U.S.C. §1367,

           3.       The United States District Court for the Southern District of Mississippi, Eastern

Division, has original subject matter jurisdiction over this civil action because there is complete

diversity among the parties, as noted, pursuant to 28 U.S.C. § 1332. The amount in controversy

in this civil action, exclusive of interest and costs, exceeds the sum of $75,000.00. (Plaintiff’s

counsel’s E-mail to defense counsel, admitting he is seeking over $75,000.00, attached as Exh.

“E”). No party properly joined as a Defendant is domiciled in the State of Mississippi or has its

principal place of business in the State of Mississippi. Therefore, this action may be removed to

this Court pursuant to 28 U.S.C. § 1441.

           4.    The amount in controversy in this civil action, exclusive of interest and costs, is in

excess of the minimum jurisdictional amount of this Court.                       Plaintiff seeks compensatory

damages in excess of $75,000.00, as noted above. Therefore, this Court’s minimal jurisdictional



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    The references to Doug McKennie in the style on the Affidavits are actually referring to Doug McAtee
                                                          2
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threshold is satisfied. 28 U.S.C. § 1332.

       5.      This Notice of Removal is timely filed because it has been filed within 30 days of

receipt of the Complaint served of Michelle Gardner on January 28, 2020. (Exh. E, Affidavit of

Michelle Gardner, para. 3). Further, it is filed within one year of the filing of the original

Complaint. 28 U.S.C. § 1446(b).

       6.      This action is not one rendered non-removable by 28 U.S.C. § 1445.

       7.      Copies of all process, pleadings, and orders served on the Defendant in the State

Court action will be filed electronically upon receipt of a federal cause number.

       8.      A copy of the Notice of Removal is being served on the Plaintiff, by and through

his attorney of record, and the Clerk of the Circuit Court of Lawrence County, Mississippi.

       WHEREFORE, Rudolph Foods Company, Inc., Doug McAtee and Michelle Gardner,

serves this Notice and hereby remove this case pursuant to 28 U.S.C. § 1331, 1332, 1367, 1441,

and 1446, and Plaintiff herein is notified to attempt to proceed no further in this case in the Circuit

Court of Lawrence County, Mississippi, unless by Order of the United States District Court for the

Southern District of Mississippi, Eastern Division.

       RESPECTFULLY SUBMITTED, this the 13th day of February, 2020.

                                               RUDOLPH FOODS, INC., DOUG McATEE,
                                               and MICHELLE GARDNER,
                                               Defendants

                                       BY:     CARR ALLISON, Their Counsel


                                       BY:     /s Thomas L. Carpenter
                                               THOMAS L. CARPENTER, MB#9808




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                                  CERTIFICATE OF SERVICE

       I, Thomas L. Carpenter, attorney of record for Defendants do hereby certify that on this

day I have mailed, first class United States mail, postage-prepaid, a copy of this Notice of

Removal to the following persons:

       James Brister
       Circuit Court, Lawrence County
       P.O. Box 1249
       Monticello, MS 39654

       Louis Watson
       Nick Norris
       Watson & Norris, PLLC
       1880 Lakeland Drive, Suite G
       Jackson, MS 39216

       This the 13th day of February, 2020.



                                              /s Thomas L. Carpenter__________
                                              THOMAS L. CARPENTER, MB#9808



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